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                           UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                  TYLER DIVISION


 ROTHSCHILD BROADCAST DISTRIBUTION
 SYSTEMS, LLC,

                        Plaintiff,

        v.                                                Civil Action No. 6:15-CV-238

 CRUNCHYROLL, INC.,

                        Defendant.


              DEFENDANT CRUNCHYROLL, INC.’S MOTION TO DISMISS
             PLAINTIFF’S COMPLAINT FOR FAILURE TO STATE A CLAIM
                           PURSUANT TO 35 U.S.C. § 101


        Defendant Crunchyroll, Inc. (“Crunchyroll”) moves to dismiss this patent infringement

 action because Plaintiff Rothschild Broadcast Distribution Systems, LLC has failed to state a

 claim upon which relief can be granted. Specifically, the claims of Plaintiff’s sole asserted

 patent, U.S. Patent No. 8,856,221 (the “’221 Patent”), are invalid under 35 U.S.C. § 101 as

 drawn to patent-ineligible subject matter—the abstract idea of storing and delivering media

 content.

        Rather than burdening the Court with duplicative briefing, Crunchyroll will rely on and

 hereby respectfully joins in Defendant Vimeo, LLC’s (“Vimeo”) Motion to Dismiss for Failure

 to State a Claim Pursuant to 35 U.S.C. § 101, filed in Rothschild Broadcast Distribution Systems,

 LLC, v. Vimeo, LLC, Dkt. 10, Case No. Case No. 6:15-CV-232-RWS-JDL (May 15, 2015).

 Vimeo’s motion is attached hereto as Exhibit A. Vimeo’s motion is hereby incorporated fully

 into this motion and shall serve as stating the bases for Crunchyroll’s motion.

        As articulated in Vimeo’s briefing, the claims of the asserted ’221 Patent are directed to
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 an abstract idea and are ineligible for patent protection pursuant to 35 U.S.C. § 101.

 Accordingly, Crunchyroll respectfully requests that this Court dismiss Plaintiff’s complaint for

 patent infringement with prejudice.



 Dated: June 15, 2015                          Respectfully submitted,

                                               FENWICK & WEST LLP



                                               By: /s/ Bryan A. Kohm

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                                  CERTIFICATE OF SERVICE

          Pursuant to the Federal Rules of Civil Procedure, and Local Rule CV-5, I hereby certify

 that all counsel of record who have appeared in this case are being served today with a copy of

 the foregoing via the Court’s CM/ECF system.



 Dated: June 15, 2015                          /s/ Bryan A. Kohm
                                               Bryan A. Kohm




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